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 5
     Attorney for Defendant
 6   DANIEL MARKEVICH
 7
 8                     IN THE UNITED STATES DISTRICT COURT
 9                   FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,            ) Case No. CR-S-11-0490 JAM
                                          )
12                    Plaintiff,          ) STIPULATION TO RE SET STATUS
                                          ) CONFERENCE; ORDER THEREON
13          v.                            )
                                          )
14                                        ) Judge: HON. JOHN A. MENDEZ
                                          )
15   DANILL MARKEVICH                     )
                                          )
16                Defendants.
     __________________________
17
            IT IS HEREBY stipulated between the United States of
18
     America, through its undersigned counsel, Assistant U.S.
19
     Attorney R. Steven Lapham, and defendant DANILL MARKEVICH,
20
     through undersigned counsel, Mark J. Reichel, that the status
21
     conference be re set in this matter for May 22, 2012, 9:30
22
     a.m.
23
            The parties stipulate and agree that the re setting is
24
     necessary as additional research, negotiation, witness and
25
     fact development, need to be performed before the next court
26
     appearance.
27
28
          Case 2:11-cr-00490-DAD Document 68 Filed 04/16/12 Page 2 of 2


 1       The parties further stipulate and agree that the
 2   exclusion of time during the period needed for defense
 3   counsel’s reasonable time for effective preparation, taking
 4   into account the exercise of due diligence within the meaning
 5   of 18 U. S. C. § 3161 (h) (7) (B) (iv), and that the ends of
 6   justice served by granting exclusion of time therefore
 7   outweigh the best interests of the public and the defendants
 8   in a speedy trial pursuant to 18 U. S. C. § 3161 (h) (7) (A),
 9   and therefore time should be excluded from the date of April
10   10, 2012 through and until May 22, 2012.
11                             Respectfully submitted,
12
13   Dated: April 14, 2012
14                             BENJAMIN B. WAGNER
                               United States Attorney
15
16                             /s/ R. Steven Lapham
                               _____________________
17                             R. STEVEN LAPHAM
                               Assistant U.S. Attorney
18
19
     Dated: April 14, 2012
20                             /s/ Mark J. Reichel
                               _____________________
21                             MARK J. REICHEL
                               Attorney for Defendant
22
                                        ORDER
23
     IT IS SO ORDERED.
24
25   Dated: April 16, 2012
26
                                     /s/ John A. Mendez
27                                   JOHN A. MENDEZ
                                     United States District Court Judge
28


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